                                MASTER PURCHASING AGREEMENT

           This Master Purchasing Agreement ("Agreement") is dated /~ ~ and is by and
     between Liberte' UniversitY~ Inc. a Virginia non-stock cflrP oration ~"L e~ ) and Media
     Partners, Inc. ("Contractor's.

           Whereas, Liberty desires from time to eime to engage Contractor to perform Services
     and/or provide Products; and Contractor desires to perform those Services for and/or
     provide those Products to Liberty;

           Whereas, Liberty and Contractor desire to enter an agreement to set forth the general
    terms and conditions on which Contractor will provide Services or Products to Liberty at a
    later date;

            Now therefore, in consideration of the mutual promises contained herein, the
    sufficiency of which is hereby acknowledged, Liberty and Contractor adopt the above recitals
    as true and agree as follows:

                                              Article 2
                                             Definitions

             As used in this Agreement, the following capitalized terms have the meanings stated
    below:

           1.1    "Deliverables" means all materials, work product, documents, data, and ofiher
    deliverables developed or provided by Contractor in connection with any Services
    provided to Liberty.

          1.2     "Products" means any physical goads provided by Contractor to Liberty
    pursuant to this Agreement

           Z.3   "Services" means any services prorrided by Contractor to Liberty pursuant to
    this Agreement including any subsequent Statements of Work.

                                              Article 2
                                       Services and Products

           2.1     Statements of Work. From time to time during the term of this Agreement,
    Liberty may solicit Contractor to provide Services or Products in a Statement of Work, a
    Purchase Order, Proposal, or similar document A "Statement of Word' is a document
    substantially in the form attached as Ex i i     that outlines the obligations of the parties
    with respect to particular Services, Products, and/or Deliverables. Statements of Work will
    reference this Agreement, and upon being executed by the parties, will form a part of this
    Agreement Each Statement of Workwill include, ata minimum, a description ofthe Services
    or Products to be provided to Liberty and the charges or rate for those Services or Products.
    In addition, Statements of Work may set forth any additional terms and conditions agreed
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                                                                                              EXHIBIT

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   upon by the parties such as (a) completion schedules; (b) specifications; (c) acceptance
   criteria; (d) service levels; and (e) estimated charges.

          2.2    Purchase Orders_ A "Purchase Qrder" 9s a document substantially in the form
   attached as Exhibit B that Liberty will issue each time it makes a payment for Services or
   Products, with or without a Statement of Work. Multiple Purchase Orders might accompany
   a Statement of Work, depending on the complexit3r and duration of the provision of Services
   and/or Products.

          2.3     Compliance with Statements of Work and Purchase Orders. Contractor shall
   complete aIl Services and/or provide Products in accordance with the terms and
   requirements of the applicable Statements of Work or Purchase Order, and this Agreement
   For the avoidance of doubt, Contractor shall not perform any Services or provide any
   Products except under an executed Statement of Work or Parcha~e Order; and Liberty will
   be under no obligation to pay for any Services performed, T'roducts rejected, or expenses
   incurred by Contractor that were not authorized in a Statement of Work or Purchase Order.
   Each Statement of Work and Purchase Order is subject to and is deemed to incorporate by
   reference the terms of this Agreement. Contractor acknowledges that it is anon-exclusive
   provider of services and/or goods to Liberty and that Liberty witl have no obligation to'enter
   into any Statements of ~N'ork with Contracfior.

           2.4         'c s. Any and all Services or Products provided by Contractor during the
   term of this Agreement viii] be governed by the provisions of this Agreement In the event
   of a conflict between or among the provisions of this Agreement and specific provisions het
   forth in a Statement of Work or Purchase Order, the provisions of this Agreement will
   prevail, unless the Statement of Work or Purchase Order specifically identifies the provision
   of this Agreement that is superseded and states that it is superseded.

          2.5     conditions gf offer or Acce tance. To the exCent a Statement of Work or
  Purchase Order is construed as an offer for the sale of goods by Liberty, Contractor's
  acceptance is strictly limited to the terms of that Statement of Work or Purchase Order and
  Liberty hereby notifies Contractor of its objection to any different or additional terms in
  Contractor's acceptance o;f that Statement of Work or Purchase Order. To the extent a
  Statement of Work or Purchase Order is construed as such an .offer, it will expire thirty (30)
  days after the date appearing on the Statement of Woxk or Purchase Order. If a Statement of
  Work or Purchase Qrder is construed as Liberty's acceptance of Contractor's offer for the
  sale of goods, that Statement of Work or Purchase Order is expressly conditioned on
  Contractofs written assent to any terms additional to or different from Contractor's offer
  contained herein. Contractor shall notify Liberty whether it assents to such additional or
  different terms within a reasonable time and in no event later than thirty (30) days following
  receipt of the additional or different terms. If Liberty does not receive Contractor's assent to
  such additional or different terms within thirty (30) days, then Libert}~s acceptance will he
  deemed revoked without need for any action on the part of Liberty.

         2.6    Inherent Services. If any services, functions, ar responsibilities not specif9cally
  described in th9s Agreement or any relevant Statements of Work or Purchase Orders are
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    reasonably required for the proper performance and provision of the Services, or are an
    inherent part of or necessary sub-task included within the Services, they will be deemed to
    be implied by and included within the scope of the Services to be provided under such
    agreements.

           2.7    Completion Schedules. Unless otherwise specified in a Statement of Work or
    Purchase Order, ali completion or delivery schedules attached to Statements of Work or
    Purchase Orders are firm or fixed performance dates, and Contractor shall complete such
    Services or deliver such Products in accordance with those schedules. Any changes to the
    Schedule must be made in accordance with Section 2.7. Liberty and Contractor aclrnowledge
    and agree that time is and will be of the essence of this Agreement, including any subsequent
    Statements of Work or Purchase Orders.

            2.8    Changes. Liberty may propose ehariges to Statements of ~/Vork or Purchase
    Orders, including changes to Completion or Delivery Schedules, Specifications, Services, and
    Products. If Liberty proposes any such change in writing, Contractor shall promptly notify
    Liberty in writing if Contractor believes that such change merits an equitable adjusi7nent to
    the charges to be paid to Contractor with respect to the Statement of Worl~ or Purchase
    Order. Following receipt of such information, Liberty may elect to withdraw its proposals
    for the change or enter into negotiations with Contractor regarding equitable adjustments
    to affected charges. Any agreed upon changes, including adjustments to charges, will be
    reflected in written amendments to the affected Statements of Work or reissued Purchased
    Orders, signed by the authorized representatives of both parties. If Liberty proposes a
    change to a Statement of Woxk or Purchase Order and the parties are unable to agree on an
    adjustrnent to the fees to be paid to Contractor with respect to the Statement of Work or
    Purchase Order, then Liberty at its sole discretion may terminate the Statement of Work or
    Purchase Order, in which event Contractor will be entitled to payment for Services or
    Products :provided prior to the termination. In no event will Contractor be entitled to
    payment in excess of the Staterrient of Work or Purchase Order price or lost opportunity
    costs, unabsorbed overhead or anticipated profits as a result of such termination and in no
    event will said termination costs exceed the amount of the Statement of Work or Purchase
    Order.

            2.9    (jualit~and Inspection. Payment for the Services, Deliverables, and/or
   Products delivered hereunder will not constitute acceptance thereof. Liberty reserves the
   right to inspect Services, Deliverables, and Products within a reasonable time after
   completion or delivery, but such inspection does not relieve Contractor of its obligations
   under this Agreement Libez-ty will have the right in its sole discretion to reject any and all
   Services, Deliverables, and products that are defective or nonconforming. If liberty rejects
   the Services, Liberty may, but does not have the obligation to, permit Contractor to cure any
   defective or nonconforming services within a reasonable period of *ame. Deliverables and
   Products rejected may be returned to Contractor at its expense and, in addition to Liberty's
   otiher rights, Liberty may charge Contractor aII expenses of unpacking, examining, repacking,
   and reshipping such Deliverables and Products. If Liberty receives Services, Deliverables, or
   Products whose defeats or nonconforrnities are not apparent on exarninatian, Liberty
   reserves the right to require Contractor to provide conforming Services or to replace such
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    Deliverables and Products, as well as payment of any costs incurred by Liberty as a result of
    those defects or nonconformities.

           2.10 Service Warranties.        CONTRACTOR REPRESENTS, WARRANTS, AND
     COVENANTS THAT: (1) THE SERVICES AND SPECIFICATIQNS FURNISHED BY IT
     HEREUNDER WILL BE PERFORMED WITH REASQNABLE SKILL AND CARE, USING
    SUITABLY QUALIFIED PERSONNEL WHO ARE LEGALLY PERMITTED TQ WORK IN THB
    UNITED STATES, IN A MANNER CONSISTENT WITH INDUSTRY STANDARDS AND
    PRACTICES AND 7N COMPLIANCE V~ITH ALL APPLICABLE LAWS; t2~ THE SERVICES WILL
    CONFORM IN ALL MATERIAL RESPECTS WITH THE DESCRIPTIQNS AND SPECIFIGAT~ONS
    SET FORTH IN THIS AGREEMENT, INCLUDING ANY APPLICABLE STATEMENTS OF WORK
    OR PURCHA5E ORDERS; AND (3) NONE OF THE SERVICES PROVIDED HEREUNDER
    INFRINGE UPON ANY PATENT, COPYRIGHT, TRADEMARK ,TRADE SECRET OR OTHER
    INTELLEC"FUAL PROPERTY RIGHT'S OF THIRD PARTIES. Contractor shall indemnify, defend,
    and hold harmless Indemnified Parties, as defined below, firom ariy claim to the contrary.

           2.11 Products Warranties. CONTRACTOR EXPRESSLY WARRANTS THAT ALL
    PRODUCTS TO BE SUPPLIED UNDER THIS AGREEMENT AND ANY STATEMENTS OF WORK
    4R PURCHASE ORDERS [A~ CONFORM TO THE SPECIFICATION DRAWINGS, SAMPLES, OR
    OTHER DESCRIPTION UPON WHICH THE ORDER IS BASED, (B) ARE FIT AND SUFFICIENT
    FOR THE PURPOSE INTENDED, (C) ARE MERCHANTABLE, (D) ARE OF GOOD MATERIAL
   ANA WORKMANSHIP, [E) ARE FREE FROM DEFECT, AND (F) D0 NOT INFRINGE UPON ANY
   PATENT, COPYRIGHT, TRADEMARK, TRADE SECRET OR OTHER INTELLECTUAL PROPERTY
   RIGHTS OF THIRD PARTIES. CONTRACTOR AGREES TD REPI~A.CE OR CORRECT DEFECTS
   (INCLUDING LAF30R AND TRANSPORTATIQN) IN ANY GOODS NOT CONFORMING TO THE
   FOREGOING WARRANTY PROMPTLY, ~A~ITHOUT EXPENSE TO THE LIBERI`Y. Contractor
   hereby assigns and agrees to assign to Liberty whatever rights Contractor has and will have
   under any manufacturer warranties of which Contractor is and will he a holder. Upon
   request, Contractor agrees to execute any document to 'effectuate such assignment(s).
   Conrractor shall indemnify, defend, and hold harmless Indemnified Parties, as defined below,
   from any claim to the contrary. In tYte event of failure by Contractor to correct defects in or
   regiace non-conforming goods promptly after reasonable notice to Cantra.ctor, Liberty may
   make such corrections or replace such goods and the Contractor shall pay reimburse the
   costs incurred by Liberty.

           2.1Z Ownership of Intellectual Pro~e~. Unless otherwise agreed in writing or
   provided hereunder, including in any Statements. of Work or Purchase Order, Liberty will
   retain all rights, title, and interests in all Deliverables, which will be considered "works made
   for hire," as defined in the U.S. Copyright Act of 1976 ("Intellectual Property"), Contractor
   agrees to execute any and all documents and do any and all further acts, at Liberty's expense,
   as may be requested by Liberty from time to time to carry out the intent and purposes of this
   section, including, but not timzted to, executing and delivering all instruments rec}uested by
   Liberty to secure or protect its rights in and to the Intellectual Property or giving testimony
   in support of creation, inventorship or authorship consistent with this Agreement as znay be
   necessary in any legal proceedings or any application proceedings for any U.S. or foreign
   patents or copyrights. As owner of the Intellectual Property, Liberty will have the right to
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     independently use, make improvements to, make derivative works of and license the
     Intellectual Property. To the extent Liberty uses, makes improvements to, makes derivative
     works of or licenses any of the Intellectual Property, Liberty will have no obligation to pay
     any royalty or other fee to Contractor beyond the compensation specified in this Agreement

                    i) Pre-Existing IntellecCual Property. Contractor will retain all rights, title and
     interests in the Intellectual Property that it has as of the date of this Agreement ("Pre-
     Existing 1P"). However, Liberty will have an irrevocable, royalty-free, and perpetual license
     to use far its internal business purposes any of Contractor's Pre-Existing IP that is
     incorporated into any Deliverable.

                    ii) Independently Developed Intellectual Property. Contractor will retain aii
    rights, title, and interests in alI Intellectual Property that it independently developed for
    purposes outside of th e scope of the Statement of Work or Purchase Qrder yet developed
    during the term of this Agreement ("Independently Developed tP"). However, Lrbe'riy will
    have an irrevocable, royalty-free, and perpetual license to use far its internal business
    purposes any of Contractor's Independently Developed 1P that is sncorporated into any
    materials, work product, documents, data, and other deliverables developed or provided by
    Contractor in connection with any services or products provided to Liberty.

                                               Article 3
                                        Term and Termination

           3.1    Term_ The term oFthis Agreement will commence on the date first txier~tioned
    above, and will expire thirty-sic (36) months thereafter.

             3.2    fiar~y Termination. This Agreement, including any applicable Statements of
    Work or Purchase Orders, may be terminated prior to the end .of its term as follows: (i) a
    party may terminate this Agreement if the other parry materially breaches any provision and
    fails to cure such breach within thirty (30) days of receiving written notice of the breach; (ii)
    Liberty may terminate this Agreerxaent for any reason by providing Contractor with thirty
    {30) days prior written notice of termination; (iu) Liberty may immediately terminate this
    Agreement upon the sale of a majority of the Contractor's assets or upon the sale or change
    in ownership of a majoritsr of the voting securities of Contractor; (iv) Liberty may
    immediately terminate this Agreement if Liberty believes that any act or omission by
    Contractor has or is. likely to have an adverse effect on Liberty's reputation; or (v) Liberty
    may immediately terminate this Agreement if Contractor becomes insolvent, ceases to
    conduct business in the ordinary course, ~Ies for dissolution or becomes subject to any
    bankruptcy proceeding.

            3.3    Effect of Termination. Termination of this Agreement will be in addition to
    and not in Iimitation of any other rights or remedies to which either party is ox may be
    entitled. Termination of this Agreement will not relieve any party from any liability for any
    breach of this Agreement Occurring prior to termination. The provisions contained in this
    Agreementwhich, by their nature, maybe or mustbe enforced subsequentto its termination,
    including, but not limited to, indemnification, warranties, confidentiality, and inteIlectuai
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    property ownership, will survive and will not be affected by the termination of this
    Agreement, regardless of the reason for termination.




                                             Axticle 4
                                           Payment Tezms

           4.1    Rates and Prices. The rates or prices to be charged by Contractor and paid by
    Liberty will be as set forth in each. separate Statement of Work, Purchase Order, or other
    written exhibit appended hereto, which exhibit will be governed by this Agreement and
    incorporated herein,

           4.2    Reimbursable Expenses. Reimbursable expenses, including, but not limited to:
   travel and living expenses, must be estimated in advance: In the event that Contractor
   determines that charges for expenses may exceed the amount stated in the Statement of
   Work or Purchase Order, Contractor must infartn Liberty in writing and acquire Liberty's
   prior written approval to exceed the Iimit. Contractor will Dill Liberty for actual travel &
   living e~cpenses within sixty (b0) days of oecurr~nce and must provide itemized receipts to
   Liberty upon request. Liberty will not reimburse for alcohol.

           4.3    Payment Terms. ~Inless other payment terms are specified on the Statement
   of Work or Purchase Order, Contractor ~riil invoice Liberty: (a) upon Liberty's written
   acceptance of work perfoz-med an a fixed price basis or (b) nnonthly in arrears, for Services
   or Products provided on a time and materials basis and for any reinnbursable out of pocket
   expenses. Each invoice must be accompanied by a description of the Services or Products
   provided, including copies of time reports which relate to the Services being invoiced on a
   time for sersrices basis, and an itemization of atl fees and expenses being invoiced and
   evidence of any reimbursable expenses actuaIIy paid by Contractor. All invoices, except for
   amounts disputed by Liberty, will be payable within forty-eve (45) days of receipt, unless
   otherwise stated in a Statement of Work or Purchase Order. Any dispufied amounts wilt not
   affect payment of undisputed .charges and expenses. Liberty shall pay Contractor the
   undisputed portion of each invoice within forty-five (45) days after its receipt.

           4.4   Setoff or Recou~x»ent. Liberty will have the absolute and unconditional right, at
   any time and in its sole discretion,. to effectuate a setoff or recoupmenfi of any amount owed by
   J.iberty to Contractor against any claims] Liberty might have against Contractor {including,
   without limitation, claizn(s~ based on defective Services, Products, damaged or lost property,
   and Contractor overcharges or other billing errors}. Liberty may exercise its setoff and
   r~coupnnent rights by deducting the amounts owed to it by Contractor from Libert~s next
   remittance or payment to Contractor, or in any other manner deemed appropriate by Liberty.

                                            Article 5
                                          Subcontractors


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            5.Z    Subcontractors. Contractor may not subcontract or delegate the performance
     of any portion of this Agreement, any portion of any Statement of Work, Purchase Order, or
     Services without Libert}~s prior written consent. Fn cases in which Liberty does consent to
     such subcontracting or delegation, the terms of this Article will apply (in addition to such
     other terms as maybe agreed upon by the parties in writing).

             S.2   ~ubcontracting}lgreement. Contractor shall provide in its agreements with
     subcontractors and delegees ("Subcontractors"} such written provisions as are suff dent to
     enable and require Contractor to comply with the provisions of this Agreement and
     subsequent Statements of Work or Purchase Orders. In no event will Contractor be relieved
     of any ofthe provisions ofthis Agreement byvirtue of anysubcontract or.assignmenthereof.

           5.3      anagement of Subcontractors. Contractor shall monitor and mar~~age such
    Subcontractors, and shall guarantee their performance. Contractor will remain directly
    responsible in accordance with this Agxeement far the performance of Services and
    provision of Products subcontracted or delegated by Contractor.

            5.4    Inadequate Performance by Subcontractors. Even if a❑ inadequacy in a
    Subcontractor's performance does not amount to a breach of this Agreement, if Liberty
    notifies Contractor that it is dissatisfied with the performance of any Subcontractor,
    Contractor shall use its best efforts to address Liberty's concern regarding such
    performance. Further, Liberty will have the right to reject any personnel of Subcontractor's
    whose qualifications, in Liberty sole discretion, do not meet the standards considered by
    Liberty as necessary for the performance of the Services or the provision of the Products. In
    addition, if Liberty becomes dzssatisfied with any of Subcontractor's employees providing
    the Services or Products for any reason that is not unlawful; Liberty may notify
    Subcontractor of the details of its dissatisfaction, and if Liberty requests, Contractor shall
    immediately remove that individual from providing Services or Products and ~'eplace the
    individual with other qualified employees approved in advance by Liberty in accordance
    with the requirements of this Agreement

         5.5      E~yn~ents to Subcontractors. Contractor will be solely responsible for the
    payment of all its Subcontractors it engages.

                                              Article 6
                                               Taxes

            6.1    Tax-Exempt Status. Liberty is exempt from certain federal, 'state, and local
    taxes as a SO1(c)(3) corpora~on; therefore, sales to Liberty are exempt from Virginia sales
    and use taxes. Contractor shall assist Liberty in its ordering and payment of materials and
    equipment, if any, and by arranging for delivery and proper storage of any materials or
    equiprr~ent purchased by Liberty, for its use or installation on projects. Contractor wiIi work
    with Liberty in making the t~-free purchases of materials and equipment on behalf of
    Liberty and will provide all documents and information to taxing authorities necessary to
    preserve Libert~s tax-free purchases. If Liberty should become subject to any federal, state,
    or Iocal taxes during the term of this Agreement, Liberty shall reimburse Contractor for any
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    cost or expense incurred. Any other taxes imposed on Contractor on account of this
    Agreement will be borne solely by Contractor.

          6.2    Contractor's Ta~zes. Contractor will be responsible for any sales, use, excise,
   value added, services, consumprion, and othertaxes and duties payable by Contractor on any
   goods or services used or consumed by Contractor in providing the Services ox Products
   where the tax is imposed on Contractor's acquisition or use of such goods or services and tl~e
   amount of tax is measured by Contractor's costs in acquiring such goods or services.
   Contractor will also be responsible for withholding, paying, and reporting any and all
   required federal, state, or local income, empiayment, and other taxes ar~d charges imposed
   by any jurisdiction in respect df or in connection with compensation of all persons
   performing Services under this Agreement, any Statement of Work, and any Purchase Order.




                                            Article 7
                                            Insurance

          7.1     Jnsurance Coverage Requirements. In accordance with University insurance
   requirements published at htt~//w~rvw.libe~t~~u jindex.cfm?FID=2792b, Contractor shall
   maintain, at its sole cost and expense, the foIlawing insurance coverage during the term of
   this Agreement:

          i) Commercial general Iiability coverage: $1,000,000 per occurrence,


          ii) Employer liability:      $50d,000 each accident,
                                       $500,000 each employee,
                                       $500,000 each disease, and

          iii) Worker's compensation insurance in the amount required bylaw.

           7.2   Additional Requirements. Liberty must be named as an additional insured
   with respect to the commercial general liabilityinsurance and automobile liability insurance,
   if such coverage is required in Section 7,1. All policies required herein must be written on
   an occurrence basis with theexception of professional liability policy which may be written
   on a claims made or occurrence basis. AlI policies must be placed with carriers who have an
   AM Best rating of A-JVIII or above. A waiver of subrogation must be provided to Liberty,
   with respecC to the commercial genexalliability and automobile liability policies.

           7.3    Certificate of Insurance. Contractor must deliver certificates evidencing the
   insurance required by this Article prior to the date on which Contractor first performs the
   Services to Liberty and uponrequestbyLiberiytliroughouttheterraofthisAgreement. Such
   certificates must at least set forth th.e amount of insurance, the additional insured
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     endorsement (if applicable), the policy number, the date of expiration, and.an endorsement
     that Liberty will receive more than thirty (30) days written notice prior to caneelIation, non-
     renewal, material change to or e~.piration ofthe policy. The certificates must bear an inked
     or stamped signature. Certificates of insurance should be sent to the Liberty business unit
     responsible for the Agreement.

            7.4    Libertds Procurement fight In the event Contractor's insurance providing
     the coverage required under this Article is canceled and replacement insurance is not
     obtained prior to the effective date of such cancellation or if Contractor fails to procure the
     insurance required herein, Liberty, at its option, will have the right to procure such coverage
     and charge the expenses incurred to Contractor or terminate this Agreement including any
     outstanding Statements of Work and Purchase Orders in addition to any other rights or
     remedies Liberty may have.

                                              Article 8
                                           Indemnification

             8.1   Contractor shall defend and indemnifjr Liberty and its directors, officers,
     employees, and agents (each an "indemnified Part') against, reimburse each Indernnihed
     Party for, and hold each Indemnified Party harmless from, ali losses, claims, damages,
    liabilities and costs (including attorneys' fees)(collectively, "Losses") incurred by an
    Indemnified Party as a result of (a) any breach by Contractor of anq of the terms, conditions,
    covenants, representations, or warranties contained herein, (b) any personal injury, death,
    or property damage caused by any defective Services, Products or Deliverables, or by any
    employees, contractors, or representatives of Contractor; [c) any claim. by an employee or
    contractor of the Contractor for wages, benefits or other compensation; (d) Contractor not
    properly v+~thholding and paying tax amounts for its employees and contractors; or (e) any
    third-party claim aIleging that any of the Serv9ces, Deliverables, or Products infringe upon
    such third-part}~s patent, copyright, trademark, trade secret, or other intellectual property
    rights.

                                             Article 9
                                           Confidentiality

           9.'1.  "confidential Inforzn~tion." Defined. "Confidential Information" means
    nonpublic information that Liberty designates as being confidential to Contractor or which,
    under the circumstances surrounding disclosure, reasonably ought to be treated as
    confidential by Contractor. Confidential Information will not include any infornnation That:
    (a) is or subsequently becomes publicly available without Contractor's breach of any
    obligation owed to Liberty; (b} was known by Contractor prior to Liberty's disclosure o.f~such
    information; (c) became Ia~own to Contractor.from asource other than Liberty other than
    by the breach of an obligation of confidentiality owed to Liberty; or (d) is independently
    developed by Contractor without reference to Confidential Information.

           9.2    Qbligations Regarding Confidential rnform~tion. Contractor shall: (a) refrain
    from disclosing any Confidential Information of Liberty to third parties; (b) take reasonable
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     security precautions, at least as great as the precautions it takes to protect its own
     confidential information but no less than reasonable care, to keep confidential the
     Confidential Information of the Liberty; (c) refrain from disclosing, reproducing,
     summarizing, and/or distributing Confidential Information of the Liberty except in
     pursuance of Contractor's business relationship with Liberty, and only as otherwise
     provided hereunder; and (d) refrain from reverse engineering, decompiling, or
     disassembling any Confidential Information disclosed by Liberty under this Agreement

           9.3    Permitted Use of Confdential Information. Contractor may use Confidential
    Information only to accomplish the purposes of this Agreement, including any Statement of
    Vllork or Purchase Orders. Contractor may disclose Confidential Information only to
    Contractor's employees and consultants on a need-to-knave basis, provided that such
    employees and consultants agree to maintain the confidentiality of the Confidential
    Information.

            9.4    Ownership of Confidential Information. All Confidential Information is and
    shall remain the property of Liberty. By disclosing Confidential Information to Contractor,
    Liberty does not grant any express or implied right to Contractor to or under any patents,
    copyrights, trademarks, or trade secret i~aformation except as expressly provided herein.

           9.5    Disclosure Required by Law.         Contractor may disclose Confidential
    Information in accordance with a judicial or other binding governmental order, provided
    that Contractor gives Liberty reasonable notice prior to such disclosure to allow Liberty a
    reasonable opportunity to seek a protective order or equivalent.

           9.6    Remedies. Contractor shall notify Liberty immediatelq upon discovery of any
    unauthozized use or disclosure of Confidential Information and will cooperate with Liberty
    in every reasonable way to help Liberty regain possession of the Confidential Information
    and prevent its further unauthorized use or disclosure. Contr-actor acl~awledges that
    monetary damages will not be a sufficient remedy for unauthnrizei~ disclosure of
    Confidential Information and that Liberty will be entitled, without waiving any other rights
    or remedies, to such injunctive or equitable relief as may be deemed proper bq a court of
    competent jurisdicrion.

                                              Article 10
                                     Miscellaneous Provisions

           10..1 Return o~ L~bert~s Data. To the extent Liberty provides Contractor with any
    data during the term of this Agreement, Contractor shall upon termination of this Agreement
    return such data to Liberty in a useable electronic form, and erase, destroy, and render
    unreadable in ifis entirety alI such data retained by Contractor in some other form in a
    manner that prevents its physical reconstxuction through the use of commonly available file
    restoration utilities, and certify in writaing that these actions have been completed within 30
    days of the termination of this Agreement or within 7 days of the request of Liberty,
    whichever occurs first.


    Master Purchasing Agreement             Page 2p of 16                       Liberty University




Case 6:20-cv-00002-NKM Document 1-1 Filed 01/03/20 Page 10 of 19 Pageid#: 19
              1fl,2 ~onfidentialRecardsCompliance. To the e~rtentCantractorreceiveseducation
      records or otherwise becomes aware of znforznation from education records directly related
      to a student and protected by the Family Educational Rights and Privacy Act of 1974, 20
      U.S.C. § 1232, as amended [popularly known as "FERPA"), and other Iaws with respect to its
      activities under this Agreement, Contractor acknowledges it has a duty to maintain the
      privacy of student records and agrees that its use and maintenance of these education
      records, including the use and disclosure of personally identifiable information concerning
      a student from education records, will always be in accordance with in accordance with
      FERPA as if Contractor vvas itself an educational institution. Specifically, Contractor shall
     .comply with Contractor's ob3igarions under FERPA as a "school official" .and FERPA's
     "legitimate educational. interests" limitation on its use or disclosure of education records.
     Additionally, Contractor shall implement reasonable and typical administrative, technical,
     and physical safeguards to secure its facilities and systems from unauthorized access, and to
     secure any protected education records Contractor might possess. Contractor agrees to
     abide by FERPA's limitation on re-disclosure of personally identifiable information in
     education records; to not use or disclose education records created or received from, by, or
     on behalf of Liberty or its students for any purpose other than the purpose for which such
     disclosure is made; and to not use or disclose such education records except as pernnitted by
     this Agreement, as required by law, or as authorized by Liberty in writing.

            10.3 PCI Compliance. To the e~rtent Contractor receives, stores, processes, andf or
     transmits cardholder data (e.g. credit card numbers and other related information, as such
     term is defined by the Payment Card Industry (PCI) Data Secuxity), Contractor shall comply
     with all PCI Data Security Standards.

           10.4 Advertising. Contractor may not use Liberty's name, logo, or other service
    marks, or the fact that Liberty conCracts with Contractor in any of Contractors product or
    service literature ar advertising without the prior written consent of Liberty.

            10.5 ,jndenendent Contractor. All services and goods provided by Contracfior will
    be provided as an independent contractor. This Agreement does not create a joint venture,
    partnership, ar an emplo.~er-.ernpioyee relationship between Liberty and Contractor.
    Contractor, and not Lzber~.y, will be solely responsible for t-he compensation of persons
    assigned to perform the Services hereunder, including any obligation far payment of
    workers' compensation and unemployment insurance, and for withholding income and
    other tastes and social. security as ree~uired by law. Contractor is an independent business
    and will not be eligible for, and will not participate in, any employer pension, health, or other
    fringe benefit plan of Liberty.

           10.6 Attorneys' Fees. In the event of any dispute between Owner and Contractor,
    whether or not a lawsuit ar other proceeding is Fled, the prevailing party will be entitled to
    recover its reasonable. attorneys' fees and costs actually incurred in enforcing such party's
    rights hereunder, including attorneys' fees and costs incurred in litigating entitlement to
    attorneys' fees and costs, as well. as in determining the amount of recoverable attorneys' fees
    and costs. The reasonable costs to which the prevailing party is entitled will include casts
    that are taxable under any applicable statute, rule or guideline, as well asnon-taxable costs,
    lvlaster Purchasing Agreement            Page 11 of 16                       Liberty i3niversity




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    including, but nat limited to, costs of investigation, copying costs, electronic discovery costs,
    telephone charges, mailing an delivering charges, inforrrzation technology support charges,
    consultant and expert witness fees, travel expea~ses, and court reporter fees, regardless of
    whether such costs are otherwise taxable.

           10.7 Solicitation of Employment; Dull E~plgvment During the Term and for a
    period oftwenty-four (24) months thereafter, Contractor shall not employ, hire or solicit for
    employment any persons employed by Liberty University during the Term ofthis Agreennent
    without the prior written consent of Liberi~s Vice President of Human Resources .

            1Q.8         .Neither Contractor nor any of its principals or officers shall provide any
     of Liberty's trustees ar employees with any gifts, gratuities or other benefits that go beyond
     the common courtesies usually associated with legal business practices of vendors or that
     exceed token or nominal value. Neither Contractor nor its principals or officers shall make
    any payment of cash or cash equivalents.(gift certificates, etc.) in excess of $50 per year to
    any Liberty trustee or employee, or to any member of a Liberty trustee or employee's family
    bq blood, adoption or marriage. Those prior prohibitions an gifts do not apply to Liberty
    trustees and employees who are related by blood, .adoption or marriage to Contractor's
    principals ox officers or wieh whom a principal or officer of Contractor has apre-existing
    close personal relationship. If a Liberty trustee or employee, regardless of his or her
    relationship with Contractor's principal or officer, solicits any payment outside this
    Agreement or any gift from Contractor or any of its principals or officers, Contractor shall
    immediately report the solic9tation in writing to Liberty's Vice President of Human
    Resources.

            10.9 Conflicts of Interest All Liberty employees are expected to avoid any
    investment, interest, or association which intez-feres, might interfere, or might be thought to
    interfere with the employee's independent exercise ,of judgment in Liberty's best interest
   Such investments, interests and associations are conflicts of interest A conflict of interest
    exists where the employee, any member of his or her family by blood, adoption or marriage,
   or any close personal relation (i) has a significant direct ar indirect financial znterest in, or
   obligation to, Contractor; (ii} is a principal, officer, employee or representative of Contractor;
   (iii) accepts gifts of more than token or nominal value from Contractor or any ofits prSncipals
   or officers; or (iv} receives any special consideration as a result of any transaction between
   Liberty and Contractor. Liberty employees are required to disclose any possilale conflicts of
   interest to Liberty's Vice President of Human Resources. Similarly, Contractor represents
   that it has disclosed, and in the future shall disclose in writing any possible conflicts of
   interest to Libert~s Director of Procurement, as well as to the Liberty employees) with
   whom it is dealing or, if the possible conflict involves such persons}, to that person's(s')
   immediate supervisor. Contz-actor shall also not create any conflict of interest, as described
   above, with a Liberty employee, any member of a Liberty Employee's family by blood,
   adoption or marriage, or any close personal relation of a Liberty employee without first
   disclosing it in writing to Liberty's Vice President of Human Resources and Director or
   Procurement.



   Master Purchasing Agreement              Page 1Z of 16                        Liberty University




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              10.10 Entire Agreement: Modifications. This Agreement, including any Statements of
      Wark and Purchase Orders, consritutes the entire and integrated agreement between the
      parties with respect to the terms addressed therein. All previous understandings relative
      thereto, either written or oral, are hereby annulled and superseded. No modification to this
      Agreement or any Statements of Wark or Purchase Orders will be binding on ei#her party
      unless it is in writing and signed by both parties. Al] disclaimers, conditions, limitations on
      liability and other terms set forth in any invoice, purchase order, acknowIedgment,poclong
      slip, confirmation, click-through or click-wrap agreement or other document or agreement
      of Contractor which conflict with the terms of this agreement will not be binding on Liberty
      and are hereby made null and void notwithstanding any of their terms to the contrary.

              10.12 Parce Majeure. Any delay or failure in the performance by either party
     hereunder will be excused if and to the extent caused by the occurrence of a Force Majeure.
     For purposes of this Agreement, Farce Majeure will include, but not be limited to: acts of God,
     civil unrest, fires, riots, wars, or embargoes. Notwithstandzng any~tiing to the contrary
     contained herein, if either party is unable to perform hereunder for a period of thirty (30}
     consecutive days, then the other party may terminate this Agreement immediately without
     liability by ten (10) days written notice to the other.

             10.12 Counterparts. This Agreement znay be executed in one or more counterparts,
     all of which will be considered one and the same agreement, and will be effective when one
     or mare such counterparts have been signed by each of the parties and delivered to the other
     parties.

            10.13 ability.
                    Sever        Tf any term or provision of this Agreement or any Statement of
     Work or Purchase Qrder should be held to be invalid, unenforceable, or illegal, such holding
     will not invalidate or render unenforceable any other provision thereof, and the remaining
     provisions of those documents will not be impaired thereby.

           10.14 Waiver. The failure to enforce or the waiver by either party of one default or
     breach of the other :party will not be considered to be a waiver of any subsequent default or
     breach.

            10.15 assignment: Delegation. Contractor may not assign, subcontract, delegate, or
     transfer any of its rigfrts or obligations under this Agreement, any Statements of Work, or
     any Purchase Order without Libert~s prior written consent

            10.26 Notices, Any and all notices, demands, consents, requests by or from one party
     to the other required by this Agreement, including any Statement of Word or Purchase
     orders, mast be in writing and sent by (a) postage paid, certified mail, return receipt
     requested, or (b) a reputable national overnight courier service with receipt therefor, or (c)
     personal delivery, and addressed in each .case as follows:

           If to Liberty:                       If to Contractor:
           Liberty University                   Media Partriers, Inc. (MPI)
           Attn: Procurement Dept               Attu: Nancy Bono
    Master Purchasing.Agreement              Page 13 of 16                       Liberty University




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            1971 ~Jniversity Blvd.           13200 Strickland Road /Suite 114-153
            Lynchburg, VA 24525              Raleigh, NC 27b13

            10.17 Governing~aw: Forum Selection, This Agreement, including any Statements
    of Work or Purchase Orders, will be governed by and construed in accordance with the laws
    of fihe Commonwealth of Virginia without giving effect to any choice or conflict of law
    provisions or rules. Any controversy, dispute or claim arising out of or relating to this
    Agreement, including any Statement of Work or Purchase Orders, must be brought in a court
    located in Lynchburg, Virginia. Each party submits to the jurisdiction of such courts.

    IN WITNESS WHEREOF, the parties hereto have caused this agreement to be duly executed
    the day and year first above written.

    LIBERTY UNNERSITY, INC.                        MEDIA PARTNERS, INC.

    By:                                            ~~,:            ~~—fl
                                                               D
    Na        .JG~,~,~ ~` ~                        Name:     Nancy Bono
    Title: ~i`~U~", P~c,,,c~•.,~~                  Title:    Partner
    Date:      '3~ 1 9 ~! S'                       Date:     02/1 j15




   Master Purchasing Agreement           Page 14 of 16                    Liberty University




Case 6:20-cv-00002-NKM Document 1-1 Filed 01/03/20 Page 14 of 19 Pageid#: 23
                                                                                                                                                               DATE (MMIDD/Y`lYYj
ACORO~
 ~                                  CERTIFICATE OF LIABILITY INSURANCE                                                              3/3/2015
    TNIS CERTiFtCATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UpOH THE CERTIFICATE HOLDER. THIS
    CERTIFICATE DOES NOT AFFIRMATfVELY OR NEGATNELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED 8Y THE POLICIES
    BELOW, THIS CERTIFICATE OF INSURANCE DOES HOT CONSTITUTE A CONTRACT BETWEEN THE ISSII[NG INSURER{S}, AUTFtORIZED
    REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER
    IMPORTANT: If tfie certificate holder is an ADDITIONAL INSURED, the policy(ies) must be endorsed. It SUBROGATION 15 WANED, subjecE to
    the Perms and conditlons of the policy, certain policies may require an endorsement, A statement on this certlficate does not confer rights to the
    certificate holder in Ileu of such endorsement(s),
 PRODUCER                                                                                 CONTACT CBSL'].2     S81'BrS
                                                                                          NAME:
 Rogers Insurance Agency                                                                  PHONE        {919) 362-8310                             aC No: X919)362-4101
 512 W Williams St                                                                        E-MA~~    .carrie@rogersinc.net
 PO BOX 945                                                                                                 INSURERS AFFORDING COVERAGE                                  NAIC iF
 ~EX                                    NC.    273
                                                 r ~2                                     INSU RERA:HBrtfOrC~        F1Z'@ IZ1S C.O                                  .9682
 INSURED                                                                                  INSURER B
 MEDIA PARTNERS, INC                                                                      INSURER C:
 13200 3TRICKI,AND RD                                                                     INSURER D:
                                                                                         INSURER E
 RALEIGH                                NC     27613                                      INSURERF:
 COVERAGES                                    CERTIFICATE NUMBER:14/15                                                       REVISION NUMBER:
    THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BEiOW HAVE BEEN ISSUED TO THE ENSURED NAMED ABOVE FOR THE POLICY PERIOD
    INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDfTlON OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WH1CH THIS
    CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED 8Y THE POLICIES DESCRIBED HEREIN IS SUBJECT TO ALL THE TERMS,
    EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SH04VN MAY HAVE BEEN REDUCED BY PAID CLAIMS.
INSR                                                                                               POLI  EFF    POLI Y EXP
 ~~                 TYPE OF INSURANCE                                 POLICY NUMBER                MMIDD        M DD                                ~~~TS
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           COMMERCIAL GENERAL LIABILITY                                                                                         A ES Eaaccungnce
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               CLAIMS-MADE ~ OCCUR                                                                                           MED EXP (My one Derwn)        b

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       AUTOMOBILE LIABILITY                                                                                                        IN     S    L MI
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           ALL OWNED            SCHEDULED                                                                                    BODILY INJURY (PeracrJdent) S
           AUTOS                AUTOS
                                NON-0WNFD                                                                                    PROPERTY DANA                 a
           HIRED AUTQS          gUT0.S                                                                                       Per accident
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p      WORKERS COMPENSATION                                                                                                  ~   WCSTASU-           OTH-
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       ANY AROPRIE70R/PARTNERlIXECUTIVE❑ N!A                                                                                 E.L. EACH ACCIDENT            S            SOQ    OOO
       OFFICERlMEMBER EJCCLUDED7
       (Mandatary in NH)                                    2YTBCCS1218                            2/22/2014   2/22 J2015
                                                                                                                             E.L. DISEASE • EA EMPLOYE     S            500    ODO
       Ify es, desaibe under
       DESCRIPTION OF OPERATIONS belay                                                                                       EL. DISEASE - POUCY LIMIT     S            500    000




DESCRIPTION OF OPER4TIONS 1 LOCATIONS f VEHICLES (Attach ACORO 101, AddlGonat Remarks Schedule, I/more space fs required)
Waiver of Subrogation is granted for Workers Compensation coverage where permitted by law and required by
written contrast per form #TBD.




              iL~

                                        baarlsonl7@J.iberty.edu                            SHOULD ANY OF TFtE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE
                                                                                           THE EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN
                                                                                           ACCORDANCE WITH THE POLICY PROVISIONS,
        Liberty IIniversity, Inc.
        Attn: Rob Wells
        1971 University Blvd.                                                            AUTHORIZED REPRESENTATIVE
        Lynchburg, VA 24515

                                                                                        Carzie Sayers/CABBIE                 ~.~,~:-<'~~~' a                                       ~-
AGORD 25 (2010/05)                                                                                      O 4988-2010 ACORD CORPORATION. Ali rights reserved.
INS025 ~~n,nn.5~ nt                               Tha 0(:l1Ril name arui Innn aro ronictorn~i m~r4c of A(:(1RIl




    Case 6:20-cv-00002-NKM Document 1-1 Filed 01/03/20 Page 15 of 19 Pageid#: 24
 A~~~                                                                                                                                                                       o~.rE (Mevoo+rrrr~
                                             CERTIFICATE CtF LiABlk.ITY INSUE~ANCE                         03/03/2015
   THIS CERT7FiCATE IS 138U~D AS A MATTER OF INFI7RMATION ONLY AND CONFERS NO RtGFfT3 UPON THE CERTIFICATE HOLDER, THIS
   CER?1FiCATE DOES kOF AFFfRh1AT1VELY OR FtEGATtVELY AMENO, EXTEND OR ALTER THE CdVERA~E AFfaRaEO BY THE PdL►C1ES
  BELQW. THIS CERTIFlCATE QF INSURANCE DOES N07' CONSTITIiTE A CONTRACT BETWEEN THE I&SWNG INSURER(&}, AifTNORlZED
  REPRESENTATIVE DR PRbDUCER, AHD THE CERTIFlGA7E HOLDER.
  IMPORTANT: If the certif'Ecaie holder is an ADDITIONAL INSURED, the poltey(tes) must be encEorsetF. if SUBROGATION IS WAtYED, sutrject to
  the terms and conditions of the policy, certain policies may requira an endarsemerrt. A statemeiti on this certificate does rwt confer rights to the
  certiflcata hotdsr in li¢v of such endorsements).
rRooucQz                                                                    xA~: Brady Smith
                  Mary Wilson insurance Agency Inc                                         A~NW          .9~J-ST7''I2Z5                                ~ u, Na„s~s-s~s-2327 __
                                                                                                                                                      -~
51afeFarm         9630-115 Falls of Neuse Rd                                               E-"""- . hrady@marywitsonsmyagent.com
                  Raleigh NC Z76~~J                                                                           INSUR£i2~S)AFFQRDINGCI7VERItGE                     _._.               _   M~1C!
  ~.                                                                                       ~µy-U~~ :State Farm Fire and Casu2lty Company                                                Zb~t1
~su~o             MEDIA PARTNEFt5 tNC                                                      x~ct~Re:                             ~. —                          ------                       ~-
                  # 153                                                                    nrsur~ c :                                                                                    _ --
                  ~32Q0 5TRlCKfAND RD STE 114                                              iNsua~xo:                                                    ..___.                       _...
                  RALEIGH tdC 27613-5212                                                   msurv~e:
                                                                                           INSURER F
COVERAGES                                   CER71FtCATE NUMBER:                                                                          REVISION NUMBER:
  THIS iS TO CER'I1FY TFigT THE POLICIES OF INSURANCE U5i"ED HELOW NAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD
  INDiCRTED. NOIWfTHS7AN41NG ANY REQUIREMENT, TERM OR GONII[710N OF ANY CONTRACT OR OTHER DOCUNIEl~lT WfTH RESPECT TO WHICH THIS
  CEfttf~ICAT£ MAY BE ISSUED OR MAY PERTAIN. THE INSURANCE AFFORDED BY THE POLICIES DESCRIBEp HEREIN iS SUB.IECT 70 ALL THE TERMS,
  EXCLUSIONS AND GONi~(7lONS OF SUCH POLICIES. ~Ih11TS SHOWN MAY HAVE BEEN REDUCED BY?AID CLAIMS.
~~         TYPE OF fN3l;RANCE                                          POLfCY NUMBER                  MhU    ~          MhV     P ~                                STS
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Liberty University its Trustees, Qfficers, Employees and Agems are listrzd as addi@or~a! Insured as d pertains to the wor4c donelservice provided to Liberty
University. 'Chis policy is endorsed with a waiver of subrogation. Additiorml insured endotsemerttlwaiver of subrogation wi11 be mailed to Liberty ltnivetsify.




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               7i1~1~i~J~1

Liberty University, Inc.                                                                     SHOULD qHY OF THE ABOVE DESCRBED POLICIES BE CANCELLED BEFORE
At#n: Rob We(Is                                                                              TFfE EXPIE2ATlON DATE THEREOF, NOTICE WILL BE DELIVERED tN
                                                                                             ACCORDANCE Mltlii THE POLICY PROVI.4FON5.
7971 University Blvd.
Lynchb~rp, VA 24515
                                                                                           AUTF10R1ZE0 REPRESENTA7lVE




                                                                                               C~ 7 ~'$8-2014 ACORD CORPORATION. All rinhts roserved.
ACORD 25 (2014!01)                                     The ACORD name and la}o are registered marks of ACORD              1007486 132849.9 02-04-2014




         Case 6:20-cv-00002-NKM Document 1-1 Filed 01/03/20 Page 16 of 19 Pageid#: 25
        R




      ~~~d~~Par~~~~sb~~.
        February 12, 2015

        Liberty University
        Attn: Don Moon
        cc: Randy Smith

        Dear Mr. Moon:

       This agreement is between Liberty University, Inc.. specific to the Liberty Flames
       Sports Network (LFSN), as Client, and Media Partners. Inc. (MPI) as Agency, and
       outlines the services to be provided as a strategic media buying partner beginning
       immediately upon signature.

       Scope of Work:        Taking LFSN to broadcast radio channels in the following
                             designated target markets:

                                ■   Roanoke, VA (reconciling only)
                                ■   Richmond, VA
                                ■   Norfolk, VA
                                ■   Fredericksburg, VA
                                ■   Charlottesville, VA
                                    Harrisonburg, VA
                                ■   Tri-Cities (western VA)
                                •   Winchester, VA
                                ■   Greensboro, NC
                                ■   Raleig}a/Durham, NC

       Project to include:
          ■ Market research
          ■ Market trips to all above markets
          ■ Contract negotiations (face-to-face)
          • Media p-Tannin   & lacpment
            •--~----- --- .~__P. _ ._. _. .___.. .       _. .
              Monthly invoice reconciliations (once live) -August 2015 thnt March 2016 `~

       Pricing;
       Payment for services will be in the form of a 15% agency commission on the total to
       be paid by Liberty University, fnc. for LFSN media placed by MPI with a guaranteed
       minimum of $260,000 media placement In the event media placement under this
       agreement reaches a cumulative total of $550,000, prior to any additional services
       being rendered by MPI or casts incurred by Client, both parties must mutually agree
       in writing to extend the services stipulated within this agreement C3ient will pay
       Agency an advance of $39,Od0.00 for commissions on the guaranteed minimum


                                                                ~z~indlulmediarnarkciin~



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     tP~~i~Par~~~rs~~c.
      media placement in six.equal monthly pa}m~ents of $6,500 each beginning February
      of 2015 and, to the extent paid, will be shown as a credit on Agency invoices fox
      media placements until the credits for advance payment on the guaranteed
      minimum media placement have been exhausted. Any balance remaining for media
      placements above the guaranteed minimum shall be paid as payment for Bach media
      placements becomes due from Client and is invoiced by Agency.

      This nnonthly service amount includes "turnkey pricing" for all agency research,
      meeting times, agency services, market travel and expenses for the above markets.



      Proposed by:                      Accepted
      ~~~~
               ~~
      Nan     ono                       Don Moon
      Media Partners, Iric.             Liberty University, Inc.
      Date: 2/32/15                     Date: 3- tq -2015''




                                                              mindfli] mediatnarkeiin~




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                                                                                                                                     Page 1
                      Liberty University
                      1971 University Blvd., Lynchburg, VA 24515
                       Procurement@liberty.edu     434.592.30'12
          ...,,,       Prxurement Department
                                                                                                         Po Number:            p0100176
                                                 vendor Fax:                                              Issue Date:
               Supplier:                                                                                                       03/20/'~ 5
                                              Vendor Phone:
                   Media Partners Inc                                                                  ~e~ivery gate:          03/26/15
                   4024 Barrett Dr Ste 201
                   Raleigh NC 27609-6625                                                           Contact buyer to confirm acceptance of
                                                                                                   PURCHASE ORDER and delivery date.


                                                                       Ship to:                                    ~     ~ ,                1

  Billing Address: Send invoice to address on upper left,                         Jamie Glas~      ~~r•`~~ ~1'. ~~~
  attention "Accounts Payable, MSC Box #710305."                                  12th Street LU Receiving
  Show PO number and your Federal Tax ID or                                       1900 12th Street
                                                                                  Lynchburg VA 24501
  Social Security Number on your invoice.
                                                                                                                                    ,. ;
  Bu e€                                                            ~          eriris:
   Mary C Franklin                                                     Net 45 -Unless Otherwise stated in this Document

                                       pescrip#ion:-                          .,        4uartity          'U[tit~ost<             'f:otalCost
 Contact: Nancy Bono
 provide radio program placement in VA and NC.
 Contract will run for 6 months.
 6 Payments of $6,500 to total $39,000.
 Net Terms are set at IVET45

 SVCNTRCT
 Service Contracts                                                                        1.00EA          39,000.0000              39,000.00




FOB: Liberty University Destination                                                                         TOTAL:              39, 000.00

IMPORTANT: TERMS AND CONDITIONS SET FORTH ON THE LIBERTY WEBSITE OF http://www.liberty.edu/poterms ARE AN
INTEGRAL PART OF THIS AGREEMENT/CONTRACT. BY ACCEPTING THIS PURCHASE ORDER YOU ARE AGREEING TO
THE TERMS AND CONDITIONS AS SET FORTH ON THE WEBSITE.
The Purchase Order number must appear on all packages, invoices, packing slips, and correspondence. Packing slips must
accompany all shipments. Send all invoices directly to acctspay@liberty.edu (Accounts Payable Department) for processing or
mail to the attention of Accounts Payable. Avalid IRS W9 must be on file before payments can be issued.

FAILURE TO PRESENT THIS PURCHASE ORDER NUMBER ON THE INVOICE AS SET FORTH IN THE CONDITIONS
STATED WILL NEGATE THIS CONTRACT AND LIBERTY UNIVERSITY WILL NOT BE HELD LIABLE FOR PAYMENT OF
SUCH GOODS OR SERVICES.
LIBERTY UNNERSITY IS ATAX-EXEMPT ORGANIZATION. PLEASE COMPLY ACCORDINGLY.




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